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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                  SOUTHERN DIVISION

KIMBERLY DEROSSETT,
Individually and on behalf of all others            CLASS ACTION
similarly situated
                                                    Case No. 1:21-cv-01294-DKC
               Plaintiff,
                                                    HEARING REQUESTED
v.

PATROWICZ HOLDINGS, LLC D/B/A
JONATHON C. PATROWICZ D.O., P.A.,
and SIGNATUREMD, INC.,

               Defendants.



           PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND IN
    SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT1
______________________________________________________________________________




1
  To avoid violation of the one-way intervention rule, Plaintiff respectfully requests for this Court
to enter an order on Plaintiff’s Motion for Class Certification before ruling on Plaintiff’s Cross-
Motion for Summary Judgment. See London v. Wal-Mart Stores, Inc., 340 F.3d 1246, 1252 (11th
Cir. 2003) (quoting Am. Pipe & Constr. Co. v. Utah, 414 U.S. 538, 547 (1974)) (“‘One-way
intervention’ occurs when the potential members of a class action are allowed to ‘await . . . final
judgment on the merits in order to determine whether participation [in the class] would be
favorable to their interests.’”).
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                                   EXHIBIT LIST
Exhibit No.                       Description                         Previously Filed At

    1         Deposition Transcript of Defendants’ First 30(b)(6)         [DE 38-2]
              Designee, Dr. Jonathan Patrowicz (“Patrowicz
              Dep.”), including the following exhibits to the
              transcript:

                    Ex. 5 at PTRWCZ00000077

                    Ex. 6 SIGNATUREMD00000013 (message
                     recording)

                    Ex. 7 at PTRWCZ0000079

                    Ex. 8 (message recording)

                    Ex. 11 at PTRWCZ0000004

    2         Deposition Transcript of Defendants’ Second                 [DE 38-3]
              30(b)(6) Designee, Julie Robinson (“Robinson
              Dep.”)

    3         Deposition Transcript of Jodi Rios-Towns (“Towns            [DE 38-4]
              Dep.”), including the following exhibits to the
              transcript:

                    Ex. 1 at CYPRESS0000029-30

                    Ex. 2 at CYPRESS0000003

                    Ex. 7 at PTRWCZ00000062-63

    4         Deposition Transcript of Plaintiff Kimberly Derossett       [DE 41-3]
              (“Pltf. Dep.”)

    5         First Amended Joint Stipulation Regarding Call               [DE 22]
              Records in Defendant’s Possession

    6         First Amended Complaint                                      [DE 26]
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        Plaintiff Kimberly Derossett, on behalf of herself and all others similarly situated (the

“Class members”), and pursuant to Rule 56 of the Federal Rules of Civil Procedure, respectfully

requests for this Court to (1) deny Defendants Jonathan C. Patrowicz D.O., P.A.’s (“Patrowicz”)

and Signature MD, Inc.’s (“SignatureMD”) (collectively “Defendants”) Motion for Summary

Judgment (the “Motion”), [DE 32], and (2) grant summary judgment in favor of Plaintiff and the

Class members with respect to their claims under the Telephone Consumer Protection Act, 47

U.S.C. §§ 227, et seq. (the “TCPA”).

   I.      INTRODUCTION

        “Telemarketing calls are [] intrusive. A great many people object to these calls, which

interfere with their lives, tie up their phone lines, and cause confusion and disruption on phone

records.” Krakauer v. Dish Network, LLC, 925 F.3d 643, 649 (4th Cir. 2019). “Faced with growing

public criticism of abusive telephone marketing practices, Congress enacted the Telephone

Consumer Protection Act of 1991.” Id. “To meet these ends, the TCPA first impose[s] a number

of restrictions on the use of automated telephone equipment, such as ‘robocalls.’” Id. (citing 47

U.S.C. § 227(b); Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 373 (2012)). “The TCPA can be

enforced by federal agencies, state attorneys general, and private citizens.” Krakauer, 925 F.3d at

649. The “private cause of action is a straightforward provision designed to achieve a

straightforward result….Violations of the law are clear, as is the remedy. Put simply, the TCPA

affords relief to those persons who, despite efforts to avoid it, have suffered an intrusion upon their

domestic peace.” Id. at 650.

        This case involves Defendants’ violations of Plaintiff’s and the Class members privacy

rights under the TCPA to be free of intrusive telemarketing calls. More specifically, to promote

their concierge medical services, Defendants launched a marketing campaign that included the



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prerecorded message calls at issue and which was designed “to encourage sales without sounding

too ‘salesy’.” Towns Dep., Ex. 2 at CYPRESS0000003 (emphasis supplied). Defendants needed

to sell their memberships because, as described by SignatureMD’s Executive Vice President,

doctors like Patrowicz “don’t want to necessarily take a huge pay cut[]” when transitioning to

a concierge model and “[a]t a certain level, you need a certain number of members to essentially

break even or to have a similar lifestyle, you know, financially.” Robinson Dep. at 53:24 – 54:8

(emphasis supplied).

       Faced with being held accountable for violating the privacy rights of thousands of

individuals, Defendants now claim that their marketing efforts were really meant to “educate” and

“inform” Plaintiff and the Class members so that they would have an opportunity to enroll in the

concierge practice or find a new doctor. This is a narrative that Defendants concocted to avoid

millions in statutory damages. Defendants had no concern other than to enroll the necessary

number of patients so SignatureMD could make a profit and Patrowicz could maintain his lifestyle

while working less. In fact, internal communications between Defendants show that they actively

sought to discourage Plaintiff and the Class members from switching their care over to Patrowicz’s

nurse practitioner partner who was not transitioning her practice to a concierge model. See Towns

Dep., Ex. 2 at CYPRESS0000003 (discussing how the letter and e-mail sent to Plaintiff and the

Class members were drafted to “incorporate[] the urgency to sign up with [Patrowicz] rather than

making it an option to move to [the nurse practitioner].” Towns Dep., Ex. 2 at CYPRESS0000003.

Moreover, Defendants waited until the last minute to provide any information to Plaintiff and the

Class members regarding alternate available medical practices. See Robinson Dep. at 40:14 – 41:7;

Towns Dep. at 37:7-17.




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          Defendant’s mischaracterization of Plaintiff’s testimony changes nothing. Plaintiff did

admit at deposition that it is important for doctors to communicate with their patients, but she also

testified that she believed Defendants’ prerecorded calls to be “marketing, it’s a nuisance” and that

the calls were an attempt to “skirt the law” by Defendants. Pltf. Dep. at 111:18-21; 112:21-24. In

sum, this case is about the all-too-common fact pattern of Defendants putting profits before the

privacy rights of Plaintiff and the Class members. Defendants aggressively marketed their fee-

based services utilizing various channels, including prerecorded voice calls. For all their discussion

of regulatory frameworks and efforts to convince this Court that their calls are exempted, the facts

of this case are simple: Defendants sent marketing prerecorded calls without the required express

written consent. This Court should therefore deny Defendants’ Motion for Summary Judgment,

and grant Plaintiff’s and the Class members’ Cross-Motion for Summary Judgment.

    II.      UNDISPUTED MATERIAL FACTS

             A. Patrowicz Decides to Transition to a Fee-Based Concierge Practice

          Patrowicz operated a traditional medical practice for over 20 yrs. Patrowicz Dep. at 13:16.2

Cypress Concierge Medicine, a company that is no longer in existence, assisted medical practices

like Patrowicz’s in transitioning to a concierge practice. Patrowicz Dep. at 13:11-19. Around

October or November 2020, Patrowicz engaged Cypress Concierge to help it transition to a

concierge practice. Patrowicz Dep. at 14:4-9. SignatureMD subsequently purchased Cypress

Concierge Medicine at the end of March 2021. Robinson Dep. at 11:3-4. SignatureMD ultimately




2
  Per the Parties’ stipulation, discovery and depositions that took place prior to the addition of
SignatureMD as a Defendant is binding on both Defendants. See Joint Status Report, [DE No. 23],
at pg. 2 ¶ h (“Defendant does not oppose the amendment and the parties have stipulated and agreed
that all discovery conducted to date will be binding on both Defendants so as to avoid having to
conduct additional discovery and disturb the current scheduling order.”).

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assisted Patrowicz in transitioning to a concierge practice in the beginning of April 2021. Robinson

Dep. at 13:22 – 14:1; 15:8-12.

       Concierge medicine is a subscription based medical practice model where patients pay an

annual membership fee to be treated by the physician. Robinson Dep. at 12:15-22. Doctors will

associate with SignatureMD to help them transition to a concierge model. Robinson Dep. at 13:5-

9.                                                                                                 .

Patrowicz Dep. at 83:21-25.

                                                                . Patrowicz Dep. at 17:3-6, 19:22-

23; Robinson Dep. at 13:10-19.



                                                                      . Patrowicz Dep. at 85:8-14.

After the transition to a concierge model, Patrowicz only sees patients that pay the annual

concierge fee. Patrowicz Dep. at 26:11-16.

       As described by SignatureMD’s Executive Vice President,




Robinson Dep. at 53:24 – 54:8.

           B. Defendants’ Multi-Channel Campaign Regarding the Transition

       In around March 2021, Defendants developed a multi-channel marketing campaign

regarding Patrowicz’s transition to a concierge model, which included sending to Patrowicz’s


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patients e-mails, letters, a webinar, and the prerecorded messages that form the basis of this

lawsuit. Patrowicz Dep. at 19:24–20:6; 50:7-23; Robinson Dep. at 15:18-21. Patrowicz and

SignatureMD worked collaboratively on the campaign. Patrowicz Dep. at 87:8-14.

                                                                                            Robinson

Dep. at 21:24–22:11; 22:13-18.

       At that time, Patrowicz’s practice had 3,000 patients and the goal was to enroll 300 patients

for the concierge practice. Patrowicz Dep. at 20:18-20.

                                                                          Patrowicz Dep. at 60:9-10.



                                Patrowicz Dep. at 79:2-9.

           C. The Purpose of Defendants’ Campaign was to Market Concierge Services

       Jodi Rios-Towns, a SignatureMD employee, was the transition manager and main point of

contact for Patrowicz. Robinson Dep. at 17:7-13. Her job at SignatureMD is to facilitate the

transition from a general practice to a concierge medical practice, including contacting patients

about the transition. Towns Dep. at 13:12-23.



        Robinson Dep. at 48:22 – 49:1. An affiliation letter is the first letter sent to patients of an

existing practice regarding the transition to a concierge model. Robinson Dep. at 47:23 – 48:7.




Towns Dep. at 27:22 – 28:10; 29:16 – 30:1.

                         Robinson Dep. at 57:5-9.

       The affiliation letter stated in part:



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      The April 22nd prerecorded message stated:

             Hello, this is Dr. Jonathan Patrowicz calling by voice recording. I'm
             calling to make sure you received the letter I sent a couple of weeks
             ago regarding my new personalized healthcare program.

             Because many of you have questions regarding the changes, and in
             an effort to help you make fully informed decisions, I am hosting a
             live, informational webinar next Wednesday, April 28th at 6pm via
             Zoom. I sincerely hope that you will be able to join me.

             If you would like to attend, you can register by pressing 1 at the end
             of this message. If you cannot attend, I encourage you to reach out
             to my patient liaison, Kelli Carpenter, at 410-334-3540 or
             KCarpenter@YourCypress.com. Once again, Kelli's number is 410-
             334-3540. She can answer questions or get you signed up over the
             phone.
             The first few weeks of enrollment have exceeded all my
             expectations and membership is filling up quickly, so please don't
             miss the opportunity to find out more. Thank you and have a great
             evening.

Patrowicz Dep., Ex. 5 at PTRWCZ00000077; Ex. 6 at SIGNATUREMD00000013 (recording).

      The May 5th message stated:

             Hello, this is Dr. Jonathan Patrowicz calling by voice recording. I
             wanted to extend my thanks to all of you who participated in the
             webinar about our new personalized medical practice this past
             Wednesday evening. I’m so pleased at the large number of patients
             who have elected to stay with our practice as members.
             At this point, the practice is about two-thirds full in just over four
             weeks since we made the initial announcement. If you are still
             undecided or need additional information, please don’t hesitate to
             reach to my patient liaison, Kelli Carpenter at 410-334-3540 or
             KCarpenter@YourCypress.com.
             Again, spots for memberships are filling quickly, so if you have any
             questions or would like to sign up, please call Kelli Carpenter at
             410-334-3540 today.
             Your loyalty is greatly appreciated and I hope to continue our
             partnership as we start this now journey together.

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Notwithstanding, Patrowicz maintains that it was permitted to send the messages because those

patients had completed an intake form and provided their number. Patrowicz Dep. at 60:23 – 61:6.



                                                                  . Patrowicz Dep. at 60:2-6. And

SignatureMD did not secure Plaintiff’s or the Class members’ telephones number directly from

them; Patrowicz provided the numbers to SignatureMD as discussed above. Patrowicz Dep. at

58:2-10

   III.      LEGAL STANDARD

          “When faced with cross-motions for summary judgment, as in this case, the court must

consider ‘each motion separately on its own merits to determine whether either of the parties

deserves judgment as a matter of law.’” Corrado v. Life Inv'rs Owners Participation Tr. & Plan,

Civil Action No. DKC 08-0015, 2011 U.S. Dist. LEXIS 25247, at *15 (D. Md. Mar. 11, 2011)

(quoting Rossignol v. Voorhaar, 316 F.3d 516, 523 (4th Cir. 2003), cert. denied, 540 U.S. 822

(2003) (internal quotation marks omitted); citing havePower, LLC v. Gen. Elec. Co., 256 F. Supp.

2d 402, 406 (D.Md. 2003) (citing 10A Charles A. Wright & Arthur R. Miller, Federal Practice &

Procedure § 2720 (3d ed. 1983))). “The court must deny both motions if it finds there is a genuine

issue of material fact, ‘[b]ut if there is no genuine issue and one or the other party is entitled to

prevail as a matter of law, the court will render judgment.’” Corrado, 2011 U.S. Dist. LEXIS

25247, at *15 (quoting 10A Federal Practice & Procedure § 2720).

          Additionally, while Fed. R. Civ. P. 56 permits the use of declarations to support motions

for summary judgment, the use of unsupported self-serving declarations – as Defendant here has

done through the declaration of Patrowicz – “are disfavored as mechanisms for defeating a

summary-judgment motion.” Cunney v. Patrick Communs., LLC, 191 F. Supp. 3d 480, n. 29 (D.



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Md. 2016) (citing Williams v. Lazer Spot, Inc., Civ. No. BPG-13-1850, 2014 U.S. Dist. LEXIS

149308, 2014 WL 5365581, at *3 (D. Md. Oct. 21, 2014) (“Without further evidence, self-serving

testimony is insufficient to defeat summary judgment.”); Singletary v. Allstate Ins. Co., No. 2:12-

cv-940-RMG, 2013 U.S. Dist. LEXIS 165736, 2013 WL 6145277, at *6 (D.S.C. Nov. 21,

2013) (“A self-serving affidavit, without more, is not sufficient to defeat summary judgment.”);

Nat'l Enters., Inc. v. Barnes, 201 F.3d 331, 335 (4th Cir. 2000); Bellows v. Darby Landscaping,

Civ. No. WDQ-15-885, 2016 U.S. Dist. LEXIS 7416, 2016 WL 264914, at *5 (D. Md. Jan. 21,

2016); Flood v. Univ. of Md. Med. Sys. Corp., Civ. No. GLR-12-2100, 2014 U.S. Dist. LEXIS

176532, 2014 WL 7363237, at *6 n.3 (D. Md. Dec. 23, 2014)).

   IV.      ARGUMENT

         A. This Court Should Deny Defendants’ Motion for Summary Judgment.

               1.         Defendants’ Purported Compliance With HIPAA is Irrelevant.

         Defendants’ Motion contains approximately eight pages of discussion regarding HIPAA

that has no relevance to the claims or defenses in this case, and which this Court should disregard.

In Mais v. Gulf Coast Collection Bureau, Inc., the court rejected a similar attempt by a defendant

to conflate the issues:

               The issue in this case is whether Defendants complied with the
               TCPA, the only statute under which Plaintiff has sued. Even if
               Defendants fully complied with HIPPA and had consent to use and
               disclose his cell phone number for payment purposes, it does not
               follow that they automatically, and without more, had “prior express
               consent” to call that number for debt collection purposes under
               the TCPA. The TCPA is a separate statute that imposes separate
               requirements. If Defendants had consent to use and disclose
               Plaintiff's phone number under HIPPA, then they were free to use
               and disclose it in any manner that does not violate the TCPA. For
               example, they could call his cell phone without using an automatic
               telephone dialing system or artificial prerecorded voice in order to
               collect the debt. But they were not free to just ignore the TCPA’s
               separate strictures merely because they had consent under HIPPA.

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944 F. Supp. 2d 1226, 1234 (S.D. Fla. 2013); aff’d in part Mais v. Gulf Coast Collection Bureau,

Inc., 768 F.3d 1110, 1125 (11th Cir. 2014) (“We agree with the district court that

HIPAA compliance does not automatically ensure that a defendant falls within the prior express

consent exception to the TCPA. The two statutes provide separate protections, and satisfaction

of the first does not trigger compliance with the second. Nor has the FCC issued an order ruling

that satisfaction of HIPAA amounts to prior express consent to make autodialed or prerecorded

debt collection calls to a cell-phone number.”) (emphasis supplied); ACA Int'l v. FCC, 885 F.3d

687, 712 (2018) (“There is no obstacle to complying with both the TCPA and HIPAA[.]”)

(emphasis supplied).

       Defendants claim that the prerecorded calls they placed to Plaintiff and the Class members

are not only permitted, but required under HIPAA and therefore did not violate the TCPA. See

Mot. at 9, 19. If Defendants were correct, “healthcare providers could use ATDS equipment to

bombard nonconsenting wireless users with calls and texts…without incurring TCPA liability.

Nothing in HIPAA commands such a result, and we see no basis to interpret it to frustrate the

TCPA in that way.” ACA Int'l, 885 F.3d at 712. Contrary to Defendant’s contention, compliance

with HIPAA does not absolve Defendants of liability under the TCPA and that argument has been

rejected by the Eleventh Circuit, the U.S. Court of Appeals for the D.C. Circuit, and at least one

district court. In other words, Defendants’ “arguments misunderstand the relevant statutory terrain,

and [this Court should] reject them.” ACA Int'l, 885 F.3d at 711.

       Additionally, Defendant’s reliance on the FCC’s 2012 Ruling, Mot. at 19, ignores that the

FCC subsequently clarified that for a prerecorded call to fall within the healthcare exception, the

message “must not include any telemarketing, solicitation, or advertising” and must “have a

healthcare treatment purpose, specifically: appointment and exam confirmations and reminders,



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wellness checkups, hospital pre-registration instructions, pre-operative instructions, lab results,

post-discharge follow-up intended to prevent readmission, prescription notifications, and home

healthcare instructions.” In re Rules and Regulations Implementing the Telephone Consumer

Protection Act of 1991, 30 FCC Rcd. 7961, 2015 FCC LEXIS 1586, at ¶¶ 146-147 (F.C.C., July

10, 2015) (the “2015 Order”).

       Here, the calls were not about an appointment or exam reminder, a wellness checkup, pre-

registration instructions, pre-operative instructions, lab results, post-discharge follow-up,

prescription notifications, or home healthcare instructions. They were generic marketing calls

about Defendants’ concierge services unrelated to the personal healthcare of Plaintiff or any Class

member. And so, as discussed in more detail below, Defendants are not afforded any exception

from the express written consent requirement.

               2.      The Healthcare Exception Does not Apply.

       Contrary to Defendants’ arguments, the healthcare exception does not serve as a blanket

exception for all communications simply because they are sent by a healthcare provider. See

Dorfman v. Albertsons, No. 1:18-cv-00094-EJL, 2019 U.S. Dist. LEXIS 199955, at *7 (D. Idaho

Feb. 12, 2019) (“Calls whose ‘intent and purpose concern consumers’ health, not the purchase of

a good or service,’ and whose content is subject to HIPAA, are not advertisements under the

TCPA….This does not mean that healthcare-related calls, as a matter of law, are not solicitations

under the TCPA.”) (citing Zani v. Rite Aid Hdqtrs. Corp., 725 F. App'x 41, 44 (2d Cir.

2018) (“There may well be messages that, though purportedly delivering a health care message,

are so laden with marketing material as to raise a factual issue as to whether they fall outside the

health care exemption.”)) (emphasis in original); Fiorarancio v. WellCare Health Plans, Inc., Civil

Action No. 21-14614 (SRC), 2022 U.S. Dist. LEXIS 5297, at *23 (D.N.J. Jan. 11, 2022) (“Thus,



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if the FCC wanted to exempt all health care messages from the requirements of the Prerecorded

Message Prohibition, it presumably also would have codified that exemption with these other

wholesale exemptions.”).

       Moreover, the FCC’s rules and implementing regulations require, in pertinent part, the

following elements to be satisfied for a call to fall within the healthcare exception:

                                          *       *       *
               (C) Voice calls and text messages are strictly limited to those for the
               following purposes: appointment and exam confirmations and
               reminders, wellness checkups, hospital pre-registration instructions,
               pre-operative instructions, lab results, post-discharge follow-up
               intended to prevent readmission, prescription notifications, and
               home healthcare instructions;
               (D) Voice calls and text messages must not include any
               telemarketing, solicitation, or advertising; may not include
               accounting, billing, debt-collection, or other financial content; and
               must comply with HIPAA privacy rules, 45 CFR 160.103;
                                          *       *       *
               (G) A healthcare provider must offer recipients within each message
               an easy means to opt out of future such messages; voice calls that
               could be answered by a live person must include an automated,
               interactive voice- and/or key press-activated opt-out mechanism that
               enables the call recipient to make an opt-out request prior to
               terminating the call; voice calls that could be answered by an
               answering machine or voice mail service must include a toll-free
               number that the consumer can call to opt out of future healthcare
               calls; text messages must inform recipients of the ability to opt out
               by replying “STOP,” which will be the exclusive means by
               which consumers may opt out of such messages; and,
               (H) A healthcare provider must honor opt-out requests immediately.
47 C.F.R. § 64.1200(a)(9)(iv); see also 2015 Order at ¶147.

       Failure to comply with every requirement set out by the FCC for these types of messages

renders the exception inapplicable. See Smith v. Rite Aid Corp., No. 17-CV-6044 CJS, 2018 U.S.

Dist. LEXIS 190757 (W.D.N.Y. Nov. 7, 2018) (“Rite Aid clearly has not made such a showing

with regard to the ‘exigent healthcare’ message exception, since the Complaint indicates that the

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calls made to Plaintiff do not meet the criteria established by the FCC. As just one example, the

FCC permits a caller to make only one exigent healthcare call per day, ‘up to a maximum of three

voice calls . . . per week from a specific healthcare provider,’ and the Complaint alleges that

Plaintiff received such calls from Rite Aid ‘often multiple times in a single day.’ Accordingly, Rite

Aid's motion is denied insofar as it is based on the exigent healthcare call exception.”).

       Here, as evidenced by the content of the messages quoted above, Defendants’ prerecorded

calls failed to comply with the FCC’s requirements in the following ways: (1) the calls were not

strictly limited to appointment and exam reminders, wellness checkups, hospital pre-registration

instructions, pre-operative instructions, lab results, post-discharge follow-up, prescription

notifications, or home healthcare instructions; (2) the calls included telemarketing, solicitation,

and advertising regarding Defendants’ concierge services; and (3) the calls had no opt-out

mechanism or method for Plaintiff and the Class members to request for the calls to stop.

Accordingly, the healthcare exception is inapplicable and does not absolve Defendants of liability

for their TCPA violations.

       Lastly, Defendants’ reliance on Sandoe v. Bos. Sci. Corp., is misplaced. In that case, the

defendant did not “sell its products at the Seminars” that were marketed in the calls. Civil Action

No. 18-11826-NMG, 2020 U.S. Dist. LEXIS 2800, at *3 (D. Mass. Jan. 8, 2020). Instead, the

“purpose of each call was to invite the intended recipient to a Seminar for pain management at

which Boston Scientific products were sometimes mentioned but were not for sale.” Id. at *14.

Unlike in Sandoe, the ultimate purpose of Defendants’ calls was to sell Plaintiff and the Class

members memberships for which they would have been charged an annual fee of $1,800 to $2,400

by Defendants. See Patrowicz Dep. at 83:21-25; Towns Dep. at 34:11 – 35:25 (“And upon that

sign up, yes, there would be payment for those services. So, essentially, at that point in time, it



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would be a sale. But a sign up first.”). Indeed, it is undisputed that Defendants were attempting to

solicit the sale of their services through a multi-channel marketing campaign that was developed

“to encourage sales without sounding too ‘salesy’.” Town Dep., Ex. 2 at CYPRESS0000003.




                                , Towns Dep., Ex. 1 at CYPRESS0000029-30; Towns Dep., Ex. 2

at CYPRESS0000003; Robinson Dep. at 51:23-24,

                                                                  , Robinson Dep. at 40:14 – 41:7;

Towns Dep. at 37:7-17.

       The reason for these aggressive marketing strategies?



                     Robinson Dep. at 53:24 – 54:8.

                                                               . Patrowicz Dep. at 85:8-14.



             . Patrowicz Dep. at 79:2-9.

       Plaintiff, for her part, understood Defendants’ prerecorded calls to be “marketing, it’s a

nuisance” and that the calls were an attempt to “skirt the law” by Defendants. Pltf. Dep. at 111:18-

21; 112:21-24. Accordingly, Defendants fail to persuade as they – unlike the defendant in Sandoe

– were attempting, and succeeded, in selling a service.

               3.      The Emergency Purpose Exception Does not Apply.

       In 2016, the FCC clarified that “purported emergency calls cannot be targeted to just any

person. These calls must be about a bona fide emergency that is relevant to the called party.” In

the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 31 F.C.C.



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Rcd. 9054, 9062 (2016) (“2016 Order”); see also 47 C.F.R. 64.1200(f)(4). In ACA Int'l, the D.C.

Circuit warned that the emergency exception must be narrowly interpreted because of the very real

threat that “[c]onsumers may find themselves wholly unable to stave off calls satisfying the

exception.” 885 F.3d at 714. Accordingly, generic prerecorded calls about the commercial

availability of a service that are not targeted to a specific individual – like Defendants’ solicitations

here – do not fall within the emergency purpose exception because they are not about a bona fide

emergency that is specifically relevant to the called the party. Notwithstanding this unambiguous

rule, Defendants contend that any communication remotely related to healthcare falls within the

exception because it concerns the health and safety of consumers. Defendants are mistaken, as

demonstrated by the very cases they cite.

        For example, in Roberts v. Medco Health Solutions, Inc., the court entered summary

judgment in favor of the defendant because the calls at issue “involve[ed] an attempt to confirm or

refill a prescription order, schedule a prescription delivery, or confirm that a prescription is on its

way,” and thus were covered by the emergency purpose exception. No. 4:15 CV 1368 CDP, 2016

U.S. Dist. LEXIS 97177, at *8 (E.D. Mo. July 26, 2016). The court agreed with the defendant’s

argument that a consumer’s ability to obtain “a prescribed medicine is critical in preventing a

major health emergency.” Id.

        In Smith v. Rite Aid Corp., Rite Aid argued that targeted prescription notification calls

generally “affect the health of consumers” and are therefore covered by the emergency purpose

exception. 2018 U.S. Dist. LEXIS 190757, at *11. Rite Aid, however, failed to support its

argument by demonstrating that the calls at issue involved an actual emergency by, for example,

demonstrating “that the intended recipient of the calls would suffer death or serious injury if she

did not receive the prescription medication.” Id. Thus, the court in that case denied Rite Aid’s



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motion to dismiss and declined to adopt a “rule, as a matter of law, that prescription notice calls

are necessarily shielded from TCPA liability by the emergency purpose exception...” Id. at *11.

       Similarly, in Dennis v. Amerigroup Wash., Inc., the court denied the defendant’s motion

for summary judgment advanced under the emergency purpose exception in part because the

defendant failed to submit evidence “that the intended recipient of the call to [plaintiff] actually

had a serious need for medication…” No. 3:19-cv-05165-RBL, 2020 U.S. Dist. LEXIS 22832, at

*18 (W.D. Wash. Feb. 10, 2020). Additionally, the court found “no indication of a pressing need

that would make such a call ‘necessary’ to a recipient's health at any given time.” Id. Lastly, the

defendant in that case generally “emphasize[d] the vulnerability” of the call recipients, but the

court rejected this argument noting that “there is no reason to believe that they all have emergent

health needs requiring prompt attention.” Id.

       Here, Defendants did not send targeted prescription notification reminders. Defendants

sent generic prerecorded message blasts to Plaintiff and the Class members about their concierge

services.



                                          . Towns Dep. at 41:7-16; 51:17-20. And unlike some of

the cases on which they rely, Defendants’ calls (1) were not a reminder to confirm or refill a

prescription order, schedule a prescription delivery, or confirm that a prescription is on its way;

(2) were not necessary to protect the health or safety of Plaintiff, or any other recipient of the

messages; and (3) did not contain or provide Plaintiff with vital or time sensitive health and safety

information.

       In sum, like the defendant in Rite Aid Corp., Defendants here fail to support their argument

by demonstrating that the calls at issue involved an actual emergency by, for example,



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demonstrating “that the intended recipient of the calls would suffer death or serious injury if she

did not receive the prescription medication.” 2018 U.S. Dist. LEXIS 190757, at *11. And like

the defendant in Dennis, Defendants fail to submit evidence “that the intended recipient of the call

to [plaintiff] actually had a serious need for medication…” 2020 U.S. Dist. LEXIS 22832, at *18.

Put simply, Defendants fail to demonstrate any “pressing need” that would make their calls

necessary to Plaintiff and the putative class members. See id.

               4.      Whether Plaintiff Provided Express Consent is not Relevant, and Even if
                       it Were, Plaintiff did not Provide SignatureMD With Consent.

       As Defendants acknowledge, the TCPA and its implementing regulations require “express

written consent” for calls that constitute telemarketing. Mot. at 17; 47 C.F.R. § 64.1200(f)(9).

There is no dispute that Defendants failed to secure express written consent. Accordingly, if this

Court finds that Defendants were engaged in telemarketing, then whether Plaintiff provided her

telephone number to Patrowicz (i.e., express consent) is not relevant as Defendants themselves are

forced to concede that express consent is not sufficient for telemarketing prerecorded calls.

       If this Court concludes that Defendants were not engaged in telemarketing, it should

nevertheless deny summary judgment as to SignatureMD. The reason is simple: Plaintiff never

provide her number, and therefore never provided consent, to SignatureMD because the TCPA

does not authorize one entity to “transfer or extend an individual's prior express permission to

another entity.” Physicians Healthsource, Inc. v. A-S Medication Sols., LLC, 950 F.3d 959, 967

(7th Cir. 2020) (“Accordingly, even if Allscripts had received prior express permission or

invitation to send the fax in question—and it did not—AMS could not rely on Allscripts'

procurement of that permission. And because AMS admitted it never procured prior express

permission or invitation from any of the fax recipients, we must conclude that the district court

appropriately held it liable under the TCPA.”).


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                . Patrowicz Dep. at 58:2-10. Plaintiff and the Class members therefore never

provide SignatureMD with consent and Patrowicz was not permitted to transfer or extend any

purported consent it may have secured to SignatureMD. This Court should therefore, at a

minimum, deny SignatureMD’s request for summary judgment as it did not have Plaintiff’s

consent to place any type of prerecorded calls to her telephone.

       B. This Court Should Grant Plaintiff’s Cross-Motion for Summary Judgment.

       Pursuant to section 227(b) of the TCPA and its implementing regulations, Defendants were

prohibited from initiating telemarketing prerecorded voice calls to Plaintiff’s and the Class

members telephones without their express written consent. See 47 U.S.C. §227(b)(1); 47 C.F.R. §

64.1200(a); In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

1991, 27 FCC Rcd. 1830, 1838 ¶20 (Feb. 15, 2012).

       Here, it is undisputed that: (1) Defendants initiated prerecorded voice calls to Plaintiff and

the Class members; (2) Defendants’ calls constitute telemarketing; (3) Defendants failed to obtain

express written consent from Plaintiff and the Class members; (4) SignatureMD obtained no type

of consent from Plaintiff and the Class members; (5) no exception applies to Defendants’ calls;

and (6) Defendants’ violations were willful or knowing.

       Therefore, summary judgment should be granted in favor of Plaintiff and the Class

members, awarding them $500 per call placed by Defendants. Further, because Defendants’

violations were willful and/or knowing, this Court should treble the minimum statutory damages.

Defendants’ violations were particularly egregious. Defendants utilized private information




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provided to Patrowicz in connection with medical care to market their concierge services. To deter

similar violations by Defendants and others, this Court should award treble damages.

                1.     Defendants Initiated Prerecorded Voice Calls to Plaintiff and the Class
                       Members.


       “The TCPA was intended to ‘apply to the persons initiating the telephone call or sending

the message[.]’” Rinky Dink, Inc. v. Elec. Merch. Sys., No. C13-1347-JCC, 2015 U.S. Dist. LEXIS

22108, at *12 (W.D. Wash. Feb. 24, 2015) (quoting Couser v. Pre-paid Legal Services, Inc., 994

F.Supp.2d 1100, 1104 (S.D. Cal. 2014) (emphasis in the original) (citing S.Rep. No. 102-178

(1991), 1991 WL 211220 at *9)). The undisputed facts here are that Defendants initiated

prerecorded voice calls to Plaintiff and the Class members. Specifically, Defendants worked

collaboratively on the campaign. Patrowicz Dep. at 87:8-14. Patrowicz utilized a script prepared

by SignatureMD and recorded the messages. Patrowicz Dep. at 21:15-19; 23:11-14; 32:14-19;

41:10-17; 44:11-25; 47-3-6. Patrowicz sent to SignatureMD Plaintiff’s and the Class members’

telephones. Patrowicz Dep. at 36:13-23. And the process followed for all of the prerecorded calls

was the same:

                Dr. Patrowicz is given a phone number to call, which is where he
                calls it and where he records his voice shot. The -- the Customer
                Direct or Voice Shot, both of them, are on an online system that we
                use. And you essentially go on to Customer Direct or go on to Voice
                Shot and you upload the list of names -- the list of phone numbers
                that are going to be called, and then assign the voice recording with
                the list of names and pick a time and a day. And those calls are sent
                out at that time on that day.

Robinson Dep. at 29:10-21.

       Pursuant to this process, on April 22, 2021, Defendants initiated 3,181 prerecorded voice

calls to Plaintiff and the Class members. See First Amended Joint Stipulation Regarding Call

Records in Defendant’s Possession, [DE 22], at ¶1. Then, on May 5, 2021, Defendants initiated an
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additional 2,734 prerecorded voice calls to Patrowicz’s patients to numbers/persons within the

same group of 3,181 calls on April 22, 2021. Id. It is therefore undisputed that Defendants initiated

a total of 5,915 prerecorded voice calls to Plaintiff and the Class members.

       2.      Defendants’ Calls Constitute Telemarketing.

       The TCPA regulations promulgated by the FCC define “telemarketing” as “the initiation

of a telephone call or message for the purpose of encouraging the purchase or rental of, or

investment in, property, goods, or services.” 47 C.F.R. §64.1200(f)(12). In determining whether

a communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

communication, not simply the content of the message. See Golan v. Veritas Entm’t, LLC, 788

F.3d 814, 820 (8th Cir. 2015).

       As discussed at length above, the ultimate purpose of Defendants’ calls was to sell

concierge memberships for which Defendants charge a hefty annual fee. But even if this Court

gives any weight to Defendants’ argument that the calls were purportedly informational, the

outcome would not change. That is because calls “that are purely informational on their face may

still violate the TCPA because they could ultimately be used to advertise other products or services

at cost.” Fiorarancio v. WellCare Health Plans, Inc., Civil Action No. 21-14614 (SRC), 2022 U.S.

Dist. LEXIS 5297, at *8 (D.N.J. Jan. 11, 2022) (citing Drug Reform Coordination Network, Inc.

v. Grey House Publ'g, Inc., 106 F. Supp. 3d 9, 12-13 (D.D.C. 2015) (explaining that messages that

promote a free good or service “are often part of an overall marketing campaign”) (quoting In re

Rules & Regs. Implementing the Tel. Consumer Protection Act of 1991 Junk Prevention Act of

2005, 21 FCC Rcd. 3787, 3814 (2006))).

       In Fiorarancio, the defendant sent various calls referencing its “Healthy Living Program,”

“educational health program,” and “in home health assessment visit[.]” 2022 U.S. Dist. LEXIS


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5297, at *2. The defendant – like Defendants here - argued that its calls were not subject to the

TCPA because “‘none of the calls mentioned or encouraged buying, renting, or investing in

anything’ but rather ‘sought to provide information, either about health care or about benefits under

the WellCare health insurance plan.’” Id. at *6. In rejecting this argument, the court agreed with

the plaintiff that the calls “were a ‘pretext’ to a commercial transaction.” Id.

       The reasoning and holding of Fiorarancio are consistent with the FCC’s 2003 guidance

concerning “dual purpose” calls, which are calls that appear informational on their face “but are

motivated in part by the desire to ultimately sell additional goods or services. If the call is intended

to offer property, goods, or services for sale either during the call, or in the future (such as in

response to a message that provides a toll-free number), that call is an advertisement.” In re Rules

& Regulations Implementing the Tel. Consumer Prot. Act of 1991, Report and Order, 18 FCC Rcd.

14014, 14098 ¶ 142 (July 3, 2003) (emphasis added). In 2012, the FCC further clarified that “texts

that encourage consumers to call or otherwise contact the sender in an attempt to market, including

such texts that, while neutral on their face, lead to a marketing message if the consumer contacts

the sender, are likely beyond the scope of the consumer’s prior consent.” In re Rules & Regulations

Implementing the Tel. Consumer Prot. Act of 1991, Report and Order, 27 FCC Rcd. 15391, at ¶ 12

(Nov. 29, 2012).

       Consistent with this guidance, the Ninth Circuit held that, “the FCC has determined that

so-called ‘dual purpose’ calls, those with both a customer service or informational component as

well as a marketing component, are prohibited.” Chesbro v. Best Buy Stores, LP, 705 F.3d 913,

917 (9th Cir. 2012) (citing 2003 Report and Order at 14097-98 ¶¶ 140-142). Further, the Ninth

Circuit explained that in applying the dual purpose rule, courts must focus “not on the caller’s

characterization of the call, but on the purpose of the message.” Id. at 918. It elaborated that courts



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should approach the analysis “with a measure of common sense,” keeping in mind that “[n]either

the statute nor the regulations require an explicit mention of a good, product, or service where the

implication is clear from the context,” and that “[a]ny additional information provided in the calls

does not inoculate them.” Id. The logic behind examining intent is sound: if the analysis relied

solely on the face of the communication, companies could easily circumvent the TCPA’s rules by

using “informational” calls or ones purporting to offer a “free” service as a hook to then solicit

business. This would effectively eviscerate the TCPA’s express written consent requirement.

        Courts evaluating calls that are ultimate meant to market have found them to be dual

purpose calls for which express written consent is required. For example, in Chesbro, the

defendant called the plaintiff with a prerecorded message to inform him that his “Best Buy Reward

Zone” certificates were about to expire. 705 F.3d at 916. Subsequently, the defendant sent a

second prerecorded messages to the plaintiff to notify him of changes to the rewards program and

to encourage the plaintiff to “go to MyRewardZone.com for details and to update your

membership.” Id. at 916-17. In rejecting the defendant’s argument that the calls were not

telemarketing, the Ninth Circuit held:

               The robot-calls urged the listener to “redeem” his Reward Zone
               points, directed him to a website where he could further engage with
               the RZP, and thanked him for “shopping at Best Buy.” Redeeming
               Reward Zone points required going to a Best Buy store and making
               further purchases of Best Buy's goods. There was no other use for
               the Reward Zone points. Thus, the calls encouraged the listener to
               make future purchases at Best Buy.

Id. at 918.

        In Chinitz v. NRT West, Inc, the defendants used prerecorded messages that simply stated

that there “was a bad connection and someone would call [the recipient] back.” No. 18-cv-06100-

NC, 2019 U.S. Dist. LEXIS 27134, at *6 (N.D. Cal. Feb. 20, 2019). Thereafter, defendant’s


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employee would follow up and attempt to sell their real estate brokerage services. Id. The

defendant argued that the court should limit its dual-purpose analysis to just the content of the pre-

recorded call itself. Id at *6-7. The court rejected this argument and stated that “[47 C.F.R. §

64.1200(a)(2)] makes clear that the TCPA reaches prerecorded messages that do not constitute

advertisements or telemarketing themselves.” Id. Thus, the initial pre-recorded call “‘introduce[d]’

the telemarketing call and is prohibited under the TCPA.” Id. at *7.

       Similarly, in Golan v. Veritas Entm't, LLC, the defendants engaged in a national

telemarketing campaign to promote their movie, Last Ounce of Courage. 788 F.3d 814, 817 (8th

Cir. 2015). They prepared two pre-recorded messages, one that was played if the recipient

answered his/her phone, and another which was left as a voicemail if the phone was not answered.

Id. The plaintiffs did not answer their phones and consequently received the following pre-

recorded message on their voicemail: “Liberty. This is a public survey call. We may call back

later.” Id. at 816. In granting the defendant’s motion to dismiss, the district court concluded that

the messages received by the plaintiffs did not contain an advertisement and did not constitute

telemarketing. Id. at 818. On appeal, the Eighth Circuit reversed, rejecting the defendants’

argument that it should “consider only the content of the calls in determining whether they were

‘telemarketing.’” Id. at 820 (citing Alleman v. Yellowbook, Inc., No. 12-CV-1300-DRH-PMF,

2013 U.S. Dist. LEXIS 127212 (S.D. Ill. Sept. 6, 2013)).

       The Eighth Circuit reasoned that “[n]either the TCPA nor its implementing regulations

‘require an explicit mention of a good, product, or service’ where the implication of an improper

purpose is ‘clear from the context.’” Id. (citing Chesbro, 705 F.3d at 918). The Eighth Circuit

further held:

                Here, the context of the calls indicates that they were initiated for
                the purpose of promoting Last Ounce of Courage….Although the

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               campaign appeared to survey whether recipients had “traditional
               American values,” [the producers of the movie] were “more
               concerned with getting viewers to see Last Ounce of Courage than
               gathering information about them.”…. Since the calls were initiated
               and transmitted to the Golans in order to promote Last Ounce of
               Courage, they qualified as “telemarketing” even though the
               messages never referenced the film.

Golan, 788 F.3d at 820.

       In Flores v. Access Ins. Co., the defendant, an auto insurance company, sent the following

text message to the plaintiff’s cellular telephone: “Your Access Auto Insurance policy cancels

01/26/2015. To avoid cancellation, make a payment at [this website]. Reply STOP to Opt-out.”

No. 2:15-cv-02883-CAS(AGRx), 2017 U.S. Dist. LEXIS 36486, at *2 (C.D. Cal. Mar. 13, 2017).

The plaintiff alleged that the defendant violated the TCPA by sending him a text message without

his express written consent. Id. at *20. The defendant argued that it did not need written consent

because its text message did not constitute telemarketing. Id. In rejecting the defendant’s

argument, the court sided with the plaintiff’s contention:

               defendant's communications had two purposes: (1) to alert plaintiff
               to the expiration of his auto insurance policy; and (2) to encourage
               plaintiff to renew his policy. That is, the communications had both
               informational and telemarketing purposes because plaintiff was
               informed about the status of his policy and was encouraged to
               purchase services from defendant.

Id. at *21 (internal citation omitted). Since the defendant failed to obtain express written consent,

the court concluded that the plaintiff had adequately stated a claim for violation of the TCPA.

       In Meyer v. Bebe Stores, Inc., the defendant sent the following text message to the plaintiff:

“bebe: ‘Get on the list! Reply YES to confirm opt-in. 10% OFF reg-price in-store/online.

Restrictions apply. 2msg/mo, w/latest offers. Msg & data rates may apply.’” No. 14-cv-00267-

YGR, 2015 U.S. Dist. LEXIS 12060, at *3 (N.D. Cal. Feb. 2, 2015). The plaintiff alleged that the

defendant violated the TCPA because it did not have her express written consent to send her text

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messages. Id. The defendant countered that its message was “merely an informational or

administrative message,” for which it only needed express consent. Id. at *11. The court agreed

with the plaintiff, holding that the text message at issue was an impermissible dual purpose

message that sought to encourage a future purchase. Id. The court was not persuaded by the fact

that the message served a dual administrative function (opt-in), holding that express written

consent was required because of the marketing component of the message (encouraging future

purchases). Id. at *12.

       Lastly, in Toney v. Quality Res., Inc., the plaintiff provided her cellular telephone number

to the defendant in connection with the purchase of children’s shoes. 75 F. Supp. 3d 727, 731-32

(N.D. Ill. 2014). Subsequently, the defendant called the plaintiff’s cellular telephone with an

automated dialer to verify the plaintiff’s address. Id. at 732. During that call, the defendant’s

agent tried to sell the plaintiff a membership in defendant’s “Budget Savers” program. Id. The

plaintiff filed suit under the TCPA, claiming that the defendant contacted her without her express

written consent. Id. at 731. The defendant disputed plaintiff’s characterization of the call, claiming

that it was simply a “confirmation telephone call.” Id. at 737. The court ultimately agreed with

the plaintiff, holding that the call was a dual purpose call that it deemed a “sales call,” because

defendant, in addition to verifying plaintiff’s information, attempted to sell her the “Budget

Savers” program. Id. at 738.

       Here, to the extent this Court concludes that Defendants calls were not purely

telemarketing, the calls are at best dual-purpose solicitations that are actionable under the TCPA

because Defendants failed to secure express written consent from Plaintiff and the Class members.

Defendants contacted Plaintiff and the Class members to notify them that Patrowicz was

transitioning his practice to a concierge model. Defendants were not required to and did not need



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to use prerecorded voice messages to contact Plaintiff and the Class members; they opted to do so

because it was efficient and cost-effective. And while Defendants now attempt to characterize their

conduct as merely attempting to inform and educate, the internal communications discussed at

length above show that the ultimate purpose of Defendants’ calls was to promote and solicit the

sale of their services. Accordingly, as discussed below, Defendants were required to obtain express

written consent from Plaintiff and Class members before initiating their prerecorded voice calls.

       3.      Defendants Failed to Secure Express Written Consent.

       “Express consent is not an element of a plaintiff's prima facie case but is an affirmative

defense for which the defendant bears the burden of proof.” Keim v. ADF MidAtlantic, Ltd. Liab.

Co., 328 F.R.D. 668, 681 (S.D. Fla. 2018) (citing Van Patten v. Vertical Fitness Grp., LLC, 847

F.3d 1037, 1044 (9th Cir. 2017)). A dual purpose call or one that constitutes telemarketing requires

the “prior express written consent of the called party[.]” 47 C.F.R. §64.1200(a). “[P]rior express

written consent” is defined as follows:


               (8) The term prior express written consent means an agreement, in
               writing, bearing the signature of the person called that clearly
               authorizes the seller to deliver or cause to be delivered to the person
               called advertisements or telemarketing messages using an automatic
               telephone dialing system or an artificial or prerecorded voice, and
               the telephone number to which the signatory authorizes such
               advertisements or telemarketing messages to be delivered.

               (i) The written agreement shall include a clear and conspicuous
               disclosure informing the person signing that:

               (A) By executing the agreement, such person authorizes the seller to
               deliver or cause to be delivered to the signatory telemarketing calls
               using an automatic telephone dialing system or an artificial or
               prerecorded voice; and

               (B) The person is not required to sign the agreement (directly or
               indirectly), or agree to enter into such an agreement as a condition
               of purchasing any property, goods, or services.

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Snyder v. Icard Gift Card, LLC, No. 0:15-CV-61718-WPD, 2016 U.S. Dist. LEXIS 191212, at

*11-*12 (S.D. Fla. May 16, 2016) (quoting 47 C.F.R. §64.1200(f)(8)). “Thus, under binding FCC

regulations, ‘prior express written consent’ can be obtained only after providing the recipient with

the required disclosures that they agree to receive automated telephone advertisements and that

agreeing to receive such calls is not required to make a purchase.” Snyder, 2016 U.S. Dist. LEXIS

191212, at *13 (quoting In re Rules & Regs. Implementing the TCPA of 1991, 30 FCC Rcd. 7961,

8015 (July 10, 2015)). “Simply obtaining some form of written express consent is insufficient to

obtain the consent required by law to send automated text message advertisements.” Snyder, 2016

U.S. Dist. LEXIS, at *13.

          Defendants cannot meet their burden to demonstrate that they secured express written

consent from Plaintiff and Class members. Indeed, it is undisputed that Plaintiff and the Class

members were never required to sign any type of form authorizing the transmission of prerecorded

marketing communications to their telephones. Patrowicz Dep. at 69:19-24; 70:1-8. In



                                     . Patrowicz Dep. at 73:5-17.



                                     See Patrowicz Dep., Ex. 11 at PTRWCZ0000004 (emphasis

added).

          In sum, Defendants engaged in unsolicited marketing and failed to make any effort to

obtain express written consent from Plaintiff and the Class members. But even if this Court is

inclined to consider Defendants’ arguments about the purpose of their calls, it remains that

SignatureMD failed to secure any type of consent, and this Court should at a minimum enter

summary judgment against SignatureMD.



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       4.      SignatureMD Failed to Secure any Type of Consent.

       SignatureMD did not secure Plaintiff’s or the Class members’ telephones number directly

from them; Patrowicz provided the numbers to SignatureMD as discussed above. Patrowicz Dep.

at 58:2-10. Therefore, SignatureMD failed to secure any type of consent from Plaintiff and the

Class members. See Physicians Healthsource, 950 F.3d at 968 (“The district court correctly noted,

the 2006 FCC Order explains that ‘the sender must obtain the prior express invitation of

permission from the consumer’ before it sends an ad. 21 F.C.C. Rcd. at 3811 (emphasis added).

The only logical understanding of this statement is that a fax's sender must procure prior express

permission or invitation.’”). Moreover, as discussed above, TCPA consent does not transfer or

extend from one entity (Patrowicz) to another entity (SignatureMD). See Physicians Healthsource,

950 F.3d at 967 (“it would seem odd if a company could solicit express prior permission to send

fax advertisements, then transfer that permission to a completely different company who in turn

may send advertisements with impunity until the consumer affirmatively terminates its previous

permission. Indeed, such a practice could eviscerate the entire statutory scheme which is designed

to protect consumers from receiving unwanted contact from unknown entities or individuals.”).

       This Court should therefore enter summary judgment in favor of Plaintiff and the Class

members with respect to their claims against SignatureMD.

       5.      No Exception Applies to Defendants’ Calls.

       As discussed at length above, the healthcare and emergency exceptions have no application

to Defendants’ calls and do not provide Defendants a basis for skirting the law. First, Defendants’

prerecorded calls failed to comply with the FCC’s requirements in the following ways: (1) the calls

were not strictly limited to appointment and exam reminders, wellness checkups, hospital pre-

registration instructions, pre-operative instructions, lab results, post-discharge follow-up,



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prescription notifications, or home healthcare instructions; (2) the calls included telemarketing,

solicitation, and advertising regarding Defendants’ concierge services; and (3) the calls had no opt-

out mechanism or method for Plaintiff and the Class members to request for the calls to stop. See

47 C.F.R. § 64.1200(a)(9)(iv); see also 2015 Order at ¶147.

       Second, the emergency exception is similarly inapplicable because Defendants sent generic

prerecorded message blasts to Plaintiff and the Class members about their concierge services.

Defendants’ calls (1) were not a reminder to confirm or refill a prescription order, schedule a

prescription delivery, or confirm that a prescription is on its way; (2) were not necessary to protect

the health or safety of Plaintiff, or any other recipient of the messages; and (3) did not contain or

provide Plaintiff or the Class members with vital or time sensitive health and safety information.

See 2016 Order (“purported emergency calls cannot be targeted to just any person. These calls

must be about a bona fide emergency that is relevant to the called party.”); 47 C.F.R. 64.1200(f)(4).

       6.      Defendants’ Violations Were Knowing and Willful.

       The TCPA authorizes this Court to treble its damages award “if it finds that the defendant’s

violations of the law were ‘willful[] and knowing[].’” See Krakauer, 925 F.3d at 661. “[W]here

willfulness is a statutory condition of civil liability, we have generally taken it to cover not only

knowing violations of a standard, but reckless ones as well.” Id. (quoting Safeco Ins. Co. of Am. v.

Burr, 551 U.S. 47, 57 (2007). “The requirement of ‘wilfful[] or knowing[]’ conduct requires the

violator to know he was performing the conduct that violates the statute.” Schaevitz v. Braman

Hyundai, Inc., 437 F. Supp. 3d 1237, 1255 (S.D. Fla. 2019). An increased damages award is

appropriate to “to deter [defendants] from future violations and . . . give appropriate weight to the

scope of the violations.” See id. (“The court found both that the willful and knowing standard had




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been satisfied and that an increased award was needed….There is no basis, either with regards to

the legal standard or the facts, for disturbing this conclusion on appeal.”).

        In the case at hand, it is undisputed that Defendants knew they were sending prerecorded

telemarketing calls to Plaintiff and the Class members without their express written consent.



         Robinson Dep. at 21:24–22:11; 22:13-18,

                                                                                                ,

Patrowicz Dep. at 60:2-6.

        Defendants’ conduct was therefore willful and knowing. Defendants acted deliberately to

contact Plaintiff and Class members with prerecorded advertisements, and with no regard for their

privacy rights. This is not an instance where someone was duped by an outside marketing vendor.

Defendants knew precisely what they were doing, and SignatureMD has sent the same solicitations

to countless other patients not represented in this case. Damages should be trebled to punish

Defendants and deter them, particularly SignatureMD, from continuing to harass consumers.

   V.      CONCLUSION

        Defendants are not entitled to summary judgment. None of the exceptions cited by

Defendants apply and their purported compliance with HIPAA has no bearing on whether they

violated the TCPA. Plaintiff has demonstrated that summary judgment should be entered in her

and the Class members’ favor as Defendants violated the TCPA by initiating prerecorded

telemarketing calls without the requisite express written consent.

        WHEREFORE, Plaintiff Kimberly Derossett, on behalf herself and the Class members,

respectfully requests the entry of judgment against Defendants in the amount of $500 per call

placed by Defendants, for a total of $2,957,500, and further treble damages for Defendants’



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knowing and willful violations of the TCPA, and for such other relief as deem appropriate by the

Court.



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Respectfully Submitted,

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